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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION
   TOTAL REBUILD, INC.                                  CASE NO. 6:15-CV-1855
   VERSUS                                               JUDGE TERRY A. DOUGHTY
   PHC FLUID POWER, L.L.C.                              MAG. JUDGE CAROL B.
                                                        WHITEHURST

                                                ORDER

          For the reasons set forth in this Court’s Ruling,

          IT IS ORDERED that Defendant’s Motion in Limine [Doc. No. 207], and Defendant’s

   Motion in Limine [Doc. No. 209] are DENIED IN PART and GRANTED IN PART.

   Defendant’s motions are GRANTED to the extent that Plaintiff’s evidence is based on an

   infringement theory not identified with sufficient specificity in Plaintiff’s original infringement

   contentions, first supplemental infringement contentions, or second supplemental infringement

   contentions. Defendant’s motions are DENIED to the extent that Plaintiff’s evidence is based on

   an infringement theory that can be identified with sufficient specificity in Plaintiff’s original

   infringement contentions, first supplemental infringement contentions, or second supplemental

   infringement contentions.

          Monroe, Louisiana, this 10th day of June, 2019.



                                                        ____________________________________
                                                         TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE
